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                          UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NEW YORK

  YOSSEF KAHLON a/k/a JOSSEF KAHLON
  and ATLAS SOLAR HOLDINGS, LLC,

        Plaintiff,
                                            Civil Action No. 2:24-cv-05383-PKC-LGD
  v.

  ERICA T. YITZHAK, THE LAW OFFICES
  OF ERICA T. YITZHAK and
  ERICA T. YITZHAK, ESQ., P.C.

        Defendant.


   PLAINTIFF YOSSEF KAHLON’S MEMORANDUM OF LAW IN OPPOSITION TO
                        MOTION FOR REMAND
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                                 PRELIMINARY STATEMENT

        As this Court is well-aware by now, Plaintiff Jossef Kahlon (“Mr. Kahlon”) obtained in

 New York State Supreme Court, Nassau County (the “State Court”), a judgment with the face

 amount of $1,503,013.70 (the “Judgment”) against defendant Erica Yitzhak (“Ms. Yitzhak”), a

 member of the Bar of the State of New York. This Judgment stems from Ms. Yitzhak’s

 egregiously deficient representation of Mr. Kahlon and his companies in a litigation matter in state

 court. In the assessment of Judge Wexler of this Court, Ms. Yitzhak’s legal work for Mr. Kahlon

 was “disgusting” and “horrible.” And it caused Mr. Kahlon to become liable for one million

 dollars ($1 million) to the parties he had retained Ms. Yitzhak to sue on his behalf. In light of this

 harsh judicial rebuke, it should come as no surprise that Mr. Kahlon prevailed in his eventual

 malpractice action (the “State Court Action”) against Ms. Yitzhak in the summary judgment stage.

 Ms. Yitzhak was represented in the State Court Action and had an opportunity to defend herself

 fully. The State Court denied a motion by Ms. Yitzhak for reconsideration and Ms. Yitzhak did

 not appeal further. The Judgment therefore is now final as a matter of state law.

        Ms. Yitzhak then did two things to attempt to prevent Mr. Kahlon from collecting on the

 Judgment. First, she filed in the State Court a motion to vacate (the “Motion to Vacate”) arguing

 for the first time that the State Court Action should have been barred under FRCP 13 because Mr.

 Kahlon did not bring that action when he and Ms. Yitzhak were defendants in an action before this

 Court years ago. Second, Ms. Yitzhak commenced in the United States District Court for the

 Southern District of New York (the “Bankruptcy Court”) a petition for relief under the Bankruptcy

 Code. Ms. Yitzhak admitted in her bankruptcy filing the only reason she sought bankruptcy

 protection was the Judgment and that if the Motion to Vacate were successful she would withdraw

 her bankruptcy petition. In other words, there is no dispute that the State Court Action and more




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 specifically the Motion to Vacate is central to the existence and administration of Ms. Yitzhak’s

 bankruptcy case.

        Ms. Yitzhak’s bankruptcy filing automatically stayed the State Court Action pursuant to

 Section 362 of the Bankruptcy Code, including the Motion to Vacate. In accordance with normal

 bankruptcy practices, Ms. Yitzhak moved for and obtained relief from the stay to further prosecute

 her Motion to Vacate. Again in accordance with normal bankruptcy practices and pursuant to the

 Bankruptcy Rule designed exactly for this situation, Mr. Kahlon effectuated removal of the Motion

 to Vacate within the deadline set forth by the federal rules committee, that is within 30 days of the

 entry of the Bankruptcy Court order lifting the automatic stay.

        As for the substantive basis of the Motion for Vacate, at the October 24, 2024 premotion

 conference, this Court expressed unequivocal agreement with Mr. Kahlon that the preclusive effect

 of FRCP 13 does not apply here because Mr. Kahlon and Ms. Yitzhak were co-parties in the earlier

 federal action in this court. It is black-letter federal procedural law that cross claims between co

 parties are always permissive. The Court challenged Ms. Yitzhak’s counsel to provide authority

 (any authority) to support his position. Counsel was not able to do so. And in the opening brief

 Ms. Yitzhak entirely ignores this issue, notwithstanding her counsel’s assertion during the

 conference, as summarized by Judge Chen, that “there was some other line of cases that suggest

 that any kind of claims, cross claims or counterclaims . . .must be brought at the same time.

 Conference Transcript (attached as Exhibit A) at 33:16-18. This silence is telling. Simply put,

 there is no such case law and there is utterly no legal basis for the Motion to Vacate.

        Having all but conceded that the Motion to Vacate is meritless and filed in bad faith, Ms.

 Yitzhak now resorts to a scatter-shot approach to attempt to negate the proper removal of the

 Motion to Vacate to the federal forum. First, Ms. Yitzhak asserts that the Bankruptcy Code confers




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 original subject matter jurisdiction only when the removed action is a core proceeding under the

 Bankruptcy Code. Setting aside the fact that the Motion to Vacate is a core proceeding (a point

 that this Court accepted during the premotion conference and which Ms. Yitzhak entirely fails to

 address in her opening brief), Ms. Yitzhak’s statement of the law is simply wrong as Congress has

 granted in plain English original subject-matter jurisdiction to bankruptcy courts for all non-core

 (that is “related to”) proceedings. Second, Yitzhak argues that the removal was somehow

 precluded by the Bankruptcy Court’s order lifting the stay and Section 362 of the Bankruptcy

 Code. During the premotion conference, Judge Chen asked Ms. Yitzhak’s counsel for “a case

 cite . . . or something more” to support this position. Conference Transcript at 16:21-22. Her

 counsel came up empty then and came up empty again more than six weeks later when this Motion

 was brought. No such case is cited in the brief because it does not exist. Ms. Yitzhak’s view of

 the bankruptcy stay is wrong both because the order lifting provides no such thing and (as

 discussed earlier) the applicable bankruptcy rule expressly provides that a party has 30 days to file

 a notice of removal after the stay has been lifted. Third, Ms. Yitzhak purportedly seeks mandatory

 abstention but then cites to law that addresses only discretionary abstention. That section of her

 brief candidly makes no sense. Fourth, Ms. Yitzhak regurgitates the argument for discretionary

 remand raised in her pre-motion letter. But the Court has strongly rejected that same argument at

 the premotion conference and Ms. Yitzhak does not even attempt to offer a reason for the Court to

 revisit its views.

         The Motion should therefore be denied.

                                           ARGUMENT

 A.      The Motion Contains Material Misstatements of the Law




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        Ms. Yitzhak brief contains serious misstatements of the law that must be corrected. First,

 she asserts that the Bankruptcy Court “does not have subject matter jurisdiction over the original

 claims in this case.” See Motion at 3. Ms. Yitzhak goes on to explain that because the State Court

 Action is not a “core” proceeding, the Bankruptcy Court does not have “original jurisdiction over

 the matter.” See Motion at 4, first full paragraph. This is simply an incorrect statement of the law.

 As demonstrated in the Notice of Removal and discussed again infra, the Motion to Vacate is a

 core proceeding within the meaning of the Bankruptcy Code, a position that this Court already

 accepted during the premotion conference. Ms. Yitzhak fails to respond to the arguments set forth

 in the Notice of Removal or explain why this Court’s analysis during the conference should be

 revisited. And even assuming for the sake of argument that the Motion to Vacate is not a core

 proceeding (and again the Court has already concluded that it is), the Bankruptcy Court

 nevertheless would still have original subject-matter jurisdiction over the Motion to Vacate. This

 much is beyond dispute from the text of 28 U.S. C. § 1334(b) which provides in plain English that

 “the district courts shall have original but not exclusive jurisdiction of all civil proceedings arising

 under title 11, or arising in or related to cases under title 11.” (emphasis added); see also

 Residential Funding Co. LLC v. Greenpoint Mortg. Funding, Inc. (In re Residential Capital, LLC),

 519 B.R. 593, 601(S.D.N.Y.2014) (stating flatly that “bankruptcy courts continue to have

 jurisdiction over non-core matters.”).

        Second, Ms. Yitzhak falsely states that “the Bankruptcy Court has already determined that

 the State Court is to hear the motion to vacate the Judgment.” Motion at 3. This is simply untrue.

 Nothing in the Bankruptcy Court’s order lifting the stay states that the State Court is the exclusive

 or only forum for determining the Motion to Vacate. The Order states that Ms. Yitzhak “may

 proceed with her Renewal Motion and to seek vacatur of the judgment in the State Court Action.”




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 It says nothing about pre-determining a forum for the resolution of the Motion to Vacate. And it

 says nothing about prohibiting or otherwise restricting Mr. Kahlon from removing the Motion to

 Vacate to federal court in accordance with the Bankruptcy Code and the Bankruptcy Rules. Ms.

 Yitzhak’s contention regarding the stay and the order lifting the stay is not only unsupported by a

 plain reading of the Order but is also contrary to the Bankruptcy Code and the Bankruptcy Rules.

 While there is a nationwide split on this narrow issue, courts in the Second Circuit overwhelmingly

 agree that the automatic stay under Section 362 never precludes a party from removing a case

 under the bankruptcy removal statute. Cofane Assocs., LLC v. Long Island City Devs. Grp., LLC,

 No. 21-cv-7162 (JS) (ST), 2022 U.S. Dist. LEXIS 155540 (E.D.N.Y. Aug. 29, 2022) (“Therefore,

 the question becomes whether removal is allowed while such a stay remains pending. Bankruptcy

 courts in this Circuit have found that it does.”); see also Worldview Entm’t Holdings Inc. v.

 Woodrow, 611 B.R. 10, 15 (S.D.N.Y. 2019) (“more persuasive is the view that an automatic stay

 pursuant to Section 362 does not prevent a party from removing a case to federal court or a federal

 court from adjudicating a motion to remand . . .Therefore, removal of an action from state court

 does not, in and of itself, qualify as the ‘commencement or continuation’ of a judicial proceeding,

 and is not subject to the automatic stay.”). This prevailing rule of interpretation in the Second

 Circuit is fatal to Ms. Yitzhak’s theory.

        In addition, even assuming that the automatic stay precludes removal in some

 circumstances, this is not such a circumstance because removal was accomplished within 30 days

 of an order lifting the stay. Bankruptcy Rule 9027(a)(2)(B) expressly contemplates this scenario

 of removal following the termination of the bankruptcy stay. It provides that a party in interest

 may file a notice of removal within 30 days of a Bankruptcy Court order terminating the

 bankruptcy stay is entered. This is exactly what happened in this case. Ms. Yitzhak filed for




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 bankruptcy protection on April 19, 2024. That filing automatically stayed the State Action by

 operation of Section 362 of the Bankruptcy Code. The stay lift motion filed by Ms. Yitzhak was

 granted on July 1. And Mr. Kahlon’s removal to federal court of the State Court Action was

 effectuated within 30 days of July 1, as Bankruptcy Rule 9027(a)(2)(B) required and intended. As

 the leading treatise on bankruptcy explains, “[as] long as the stay remains in effect, there is no

 reason to impose a time limit for removal to the district court. Thus, clause (B) of paragraph (2) of

 Rule 9027(a) provides that the notice of removal is timely if it is filed up to 30 days after the entry

 of an order terminating the stay.” 10 Collier on Bankruptcy P 9027.05 (16th 2024). If the

 Bankruptcy had any intent when it lifted the stay to restrict Mr. Kahlon’s right to seek removal,

 which is expressly enshrined in Rule 9027(a) (2)(B), then one would have expected a specific

 discussion of or at least reference to Mr. Kahlon’s ability to remove. Ms. Yitzhak’s invitation to

 this Court to infer an intent by the Bankruptcy Court to negate a key section of a Bankruptcy Rule

 sub silentio finds no purchase in law or common sense. It must be rejected.

 B.     Mandatory Abstention Does Not Apply

        In her original letter seeking a pre-motion conference (see ECF No. 8), Ms. Yitzhak sought

 only permissive remand of this matter to the State Court. The main authority that she relied in that

 letter, Breakell v. 3M Co., No. 3:19-cv-583 (VAB), 2019 U.S. Dist. LEXIS 117979 (D. Conn. July

 16, 2019), was decided solely on the basis that the state litigation at issue should be permissively

 remanded. Breakell did not decide the issue of mandatory abstention. Ms. Yitzhak’s letter then

 pin cited to portions of two cases (Marah Wood Prods., LLC v. Jones, 534 B.R. 465, 477 (D. Conn.

 2015) and Schumacher v. White, 429 B.R. 400, 405 (E.D.N.Y. 2010)) that again addressed only

 permissive abstention. In short, Ms. Yitzhak’s letter did not contain even a hint that she would be




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  challenging whether this Court has core bankruptcy jurisdiction over the removed State Action or

  that she would be seeking a mandatory abstention.

         In her Motion, Ms. Yitzhak purportedly seeks mandatory abstention. Yet confusingly, in

  the relevant section of her brief, Ms. Yitzhak once again cites to Breakell and its permissive

  abstention factors. In fact, Ms. Yitzhak transported almost word for word the portion of her pre-

  motion letter on permissive abstention to the section of her brief seeking mandatory abstention.

  She does not have a single substantive citation in that section of her brief that addresses mandatory

  abstention. It is therefore procedurally improper for this Court to address an issue that was neither

  properly preserved in the party’s pre-motion conference letter nor raised in a semi-cogent fashion

  in her opening brief.

         To the extent that the Court is inclined to address Ms. Yitzhak’s half-baked purported

  argument premised on mandatory abstention, her argument fails on the merits. In this Circuit,

  mandatory abstention is available only if the movant establishes that all the following factors are

  met: (1) the motion to abstain was timely; (2) the action is based on a state law claim; (3) the

  action is “related to” but not “arising in” a bankruptcy case or “arising under” the Bankruptcy

  Code; (4) Section 1334 provides the sole basis for federal jurisdiction; (5) an action is commenced

  in state court; (6) that action can be “timely adjudicated” in state court. N.Y.C. Emples. Ret. Sys.

  v. Ebbers (In re Worldcom, Inc. Sec. Litig.), 293 B.R. 308, 331 (S.D.N.Y. 2003) (“A party is not

  entitled to mandatory abstention if it fails to prove any one of the statutory requirements.”)

  (emphasis added).

         Here, Ms. Yitzhak cites to these elements in a rote fashion but then entirely fails to address

  how she satisfies any of the elements. She only asserts, without any explanation, that “[t]hese

  elements are met” and then immediately shifts to a discussion of the discretionary factors which




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  are entirely irrelevant to the mandatory abstention analysis. This portion of her brief is candidly

  non-sensical. Because the burden of proof is on Ms. Yitzhak to establish that the matter should be

  remanded, her failure to address any of the six elements is fatal and the Court needs to go no

  further.

             Mr. Kahlon further notes preliminarily that factors (1), (3) and (6) cannot be met in this

  case. First, the motion for mandatory remand is not timely because it was not raised in the August

  14, 2024 letter requesting a conference and it was raised only in a non-comprehensible fashion

  when Ms. Yitzhak formally moved to remand, more than four months after removal was

  effectuated. To the extent that Ms. Yitzhak attempts to more properly move for such mandatory

  remand in her forthcoming reply, it will be untimely.

             Second, in his Notice of Removal, Mr. Kahlon states that this Motion to Vacate qualifies as

  a core proceedings within the meaning of 28 U.S.C. § 157(b), which provides illustrative examples

  of core proceedings: that it is a proceeding related to the administration of the bankruptcy estate,

  a proceeding concerning the allowance or disallowance of a claim against the estate and/or a

  proceeding affecting the liquidation of the assets of the estate and/or an adjustment of the debtor-

  creditor relationships. This Court agreed with Mr. Kahlon during the premotion conference. The

  Court specifically noted “its pretty clear that the judgment that is being sought and the related

  foreclosure action . . is at the core of the bankruptcy proceeding and made so by [Ms. Yitzhak].”

  Conference Transcript at 8 (emphasis added); id. at 8:9-10 (“the heart of her bankruptcy action has

  to do with the attempted seizure and sale or forced sale of her apartment to satisfy the judgment”);

  id at 9:2-3 (“I don’t think mandatory abstention applies here or is warranted”). Tellingly, Ms.

  Yitzhak ignores in her opening brief those on the record judicial observations confirming that the

  Motion to Vacate is a core proceeding.




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         Third, even if the Motion to Vacate is deemed a non-core proceeding (which it is not),

  mandatory abstention would still not be appropriate because the motion could not be adjudicated

  in a timely fashion in the State Court. In the Second Circuit, the timeliness factor is further broken

  down into four subfactors: (1) the backlog of the state court's calendar relative to the federal court’s

  calendar; (2) the complexity of the issues presented and the respective expertise of each forum; (3)

  the status of the title 11 bankruptcy proceeding to which the state law claims are related; and (4)

  whether the state court proceeding would prolong the administration or liquidation of the estate.

  BGFI GP I LLC v. Prieto (In re WP Realty Acquisition III LLC), 626 B.R. 154, 161 (Bankr.

  S.D.N.Y. 2021) (quoting and applying Parmalat Capital Finance Ltd. v. Bank of America Corp.,

  639 F.3d 572, 580 (2d Cir. 2011)). These factors overwhelmingly dictate denial of mandatory

  abstention here. even if the Motion to Vacate is non-core

         As for the first timeliness factor, it took the State Court more than five years to issue

  summary judgment in favor of Mr. Kahlon (the case was commenced March 11, 2016 and

  summary judgment was issued only on September 1, 2021). When this prolonged five year delay

  is measured against the fast pace of litigation in the Southern District’s Bankruptcy Court, one of

  the country’s premier forums for chapter 11 cases, it would be impossible to argue in good faith

  that the State Court would be a more efficient forum based on timeline alone. See Parmalat, 639

  F.3d at 580 (it is “informed by the comparative speeds of adjudication in the federal and state

  forums.”).

         As for the second timeliness factor, the Second Circuit has expressly instructed that

  “[w]here the legal issues in a case are especially complex, the forum with the most expertise in the

  relevant areas of law may well be expected to adjudicate the matter in a more timely fashion

  relative to the other forum. On the other hand, when the facts in a case are especially complex,




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  the forum with greater familiarity with the record may likewise be expected to adjudicate the

  matter more quickly.” Id. at 580-81. Here, the sole issue raised by the Motion to Vacate is a federal

  procedural question: whether cross-claims are compulsory under FRCP 13. There is no fact

  intensive question here. Because federal judges, including bankruptcy judges (FRCP 13 is

  incorporated by reference into Rule 7013 of the Federal Rules of Bankruptcy Procedure) routinely

  adjudicate this issue, it cannot be argued in good faith that the federal forum is not the forum with

  the greater requisite expertise to decide this issue. This is particularly true here because New York

  procedural law does not have anything resembling the compulsory federal counter-claim rule.

         Likewise, the third and fourth timeliness factors also strongly counsel against abstention.

  The third factor asks “whether the litigants in a state proceeding need the state law claims to be

  quickly resolved as a result of the status of the ongoing title 11 bankruptcy proceeding.” Id. at 581.

  The fourth factor asks “whether the state court proceeding would prolong the administration or

  liquidation of the estate. A matter cannot be timely adjudicated in state court if abstention and

  remand of the state law claims will unduly prolong the administration of the estate.” Id. As Judge

  Sean Lane of the Southern District put it recently, courts under factors 3 and 4 must “focus on the

  status and needs of the bankruptcy case rather than any particular time guideline.” BGFI GP I

  LLC, 626 B.R. at 161 (denying mandatory remand because of “administrative urgency” to move

  chapter 11 plan forward and “state law claims directly impact the bankruptcy estate”). Here, Ms.

  Yitzhak has admitted that she would not be in federal bankruptcy proceeding but for Mr. Kahlon’s

  Judgment against her and that she would withdraw the bankruptcy case if she prevailed on the

  Motion to Vacate. Because this close and undisputed relationship between the chapter 11 case and

  the resolution of the Motion to Vacate which the Court referred repeatedly during the premotion

  conference and to which Ms. Yitzhak had no response), remand is inappropriate under binding




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  Second Circuit law governing the timeliness factor, particular given the inordinate amount of time

  it took for the State Court to issue summary judgment in the underlying action and no state law

  issue is implicated by the Motion to Vacate.

         If and when Ms. Yitzhak comes forward with arguments on why she meets the

  requirements for mandatory abstention, Mr. Kahlon will seek leave to file an appropriate response.

  C.     Permissive Abstention Does Not Apply

         Ms. Yitzhak also argues that permissive abstention applies to the Motion to Remand. This

  was the only argument advanced in her premotion conference letter. The argument was wrong

  then and it is wrong now.

         Courts in New York look to the following factors to determine whether permissive

  abstention is appropriate: 1) the effect on the efficient administration of the bankruptcy estate; (2)

  the extent to which issues of state law predominate; (3) the difficulty or unsettled nature of the

  applicable state law; (4) comity; (5) the degree of relatedness or remoteness of the proceeding to

  the main bankruptcy case; (6) the existence of the right to a jury trial; and (7) prejudice to the

  involuntarily removed defendants. Drexel Burnham Lambert Group, Inc. v. Vigilant Ins. Co., 130

  B.R. 405, 407 (S.D.N.Y.1991); see also Schumacher, 429 B.R. at 405 (citing and applying the

  Drexel factors). There is a very strong presumption in favor of retention of federal jurisdiction

  and the movant seeking permissive remand faces a heavy burden of proof. BGFI GP I LLC, 626

  B.R. at 162 and 165 (permissive remand is granted only in “limited circumstances.”)

         These factors overwhelmingly favor the retention of federal jurisdiction here. First, it

  cannot be disputed that resolution of the Motion to Vacate and whether Ms. Yitzhak is liable to

  Mr. Kahlon for the Judgment are central to the efficient administration of her bankruptcy case.

  Indeed, Ms. Yitzhak has admitted that she would not have filed for bankruptcy protection but for




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  the enforcement by Mr. Kahlon of the Judgment against her. Second, the Judgment under New

  York state law is final and non-appealable. The sole basis for Motion to Vacate is a federal legal

  question, the application of F.R.C.P. 13 to cross-claims against a co-party. The Motion to Vacate

  presents no state law issue, let alone the predominance of state law issues. And it goes without

  saying that federal judges are in particular well equipped to expeditiously interpret federal law and

  to weigh the appropriateness of sanctions if they determine the Motion to Vacate is frivolous as

  Mr. Kahlon contends that it is. Third, given this total absence of New York state legal issues and

  the presence of the sole federal question in the Motion to Vacate, comity points to retention of

  federal jurisdiction. Fourth, Ms. Yitzhak suffers no prejudice from the retention of federal

  jurisdiction. She voluntarily invoked the protection of federal bankruptcy court to address the

  Judgment. It is fair to require her to litigate the Motion to Vacate, which itself is premised entirely

  on federal procedural law, in the same federal forum that she invoked for bankruptcy protection.

           To the extent that Ms. Yitzhak relies1 on the Breakell v. 3m Co. decision for a discretionary

  remand, it is unavailing. The Breakell case actually shows why this matter should be retained in

  federal court. In Breakell, the state court action was removed under federal bankruptcy jurisdiction

  statute after some of the defendants in the state court action filed for bankruptcy. Critically, at the

  time of removal, the state court action was at the discovery stage with a trial scheduled several

  months away. The claims asserted in the state court action concerned solely questions of

  Connecticut state law, unlike here, where the Motion to Vacate turns entirely on federal law. Also

  unlike here, the removed state action in Breakell had at best a remote impact on the bankruptcy

  case. See ECF 8-2 at 5 (the state action “would not, by itself, have a significant impact on the



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    Again, Ms. Yitzhak cites to Breakell only in the mandatory abstention section of her brief. In the permissive
  abstention of her brief, Ms. Yitzhak also cites to a purported “Werth Deci.” but without providing a full citation.
  Undersigned counsel is not able to determine what case this citation refers to.


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  administration of the bankruptcy estate or proceedings”). Here, in sharp contrast, the Motion to

  Vacate is central to Ms. Yitzhak Chapter 11 case. Therefore, Ms. Yitzhak’s strained apples-to-

  oranges comparison to a case in which the state court had yet to conduct a trial that would involve

  only state law questions fall flat.

          During the premotion conference, Judge Chen has made it abundantly clear that argument

  for a permissive remand in this case is highly persuasive. Conference Transcript at 40-44 (stating

  that there is no basis to refrain from federal jurisdiction because the sole issue raised by the Motion

  to Vacate is a federal issue). Ms. Yitzhak does not respond to this in her Motion because there is

  no effective response.

  D.      Equitable Remand Does Not Apply

          Ms. Yitzhak also seeks equitable remand. But it is well established failure to establish

  eligibility for a discretionary remand necessarily dooms equitable remand as well.               In re

  Worldcom, Inc. Sec. Litig.), 293 B.R. at 334 (“The equitable remand analysis, as the parties agree,

  is essentially the same as the Section 1334(c)(1) abstention analysis”); Panthers Capital, LLC v.

  Jar 259 Food Corp., No. 22 CV 2674 (DG)(RML), 2023 U.S. Dist. LEXIS 37256, at *10-11

  (E.D.N.Y. Mar. 6, 2023) (the analysis is “essentially identical.”).

                                            CONCLUSION

          The Motion should therefore be denied.

                                                 /s/ Minyao Wang
                                                 Minyao Wang
                                                 LEWIS BRISBOIS BISGAARD & SMITH LLP
                                                 Minyao.Wang@lewisbrisbois.com
                                                 77 Water Street, Suite 2100
                                                 New York, NY 10005
                                                 Tel: (212) 232-1300

                                                 David Haft
                                                 LEWIS BRISBOIS BISGAARD & SMITH LLP



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                                   David.Haft@lewisbrisbois.com
                                   110 SE 6th Street, Suite 2600
                                   Fort Lauderdale, FL 33301
                                   Tel: (954) 828-0357
                                   Counsel for Plaintiff Yossef Kahlon




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